      Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 1 of 14. PageID #: 2




                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINTS

       1.      I, Andrew J. Eilerman, being first duly sworn, hereby depose and state the

following:

       2.      I am a Special Agent of the Federal Bureau of Investigation (FBI) and I have been

so since May 2008. I am currently assigned to the Cleveland Division, Lima Resident Agency. I

worked in the same capacity in the Cincinnati Division, Dayton Resident Agency and the

Minneapolis Division, Grand Forks, North Dakota Resident Agency. I have investigated the

commission of federal crimes involving criminal offenses and national security matters to

include counterintelligence investigations, violent crimes, and drug trafficking. In the course of

these duties, I have participated in numerous federal search and arrest operations and conducted

associated interviews which have resulted in the collection of evidence and admissions of

multiple criminal violations.

       3.      This affidavit is in support of criminal complaints against AMANDA HOVANEC,

ANTHONY THEODOROU, and ANITA GREEN. My knowledge of this investigation is based

upon my own personal observations, as well as the observations and investigation conducted by

other law enforcement officers, including agents of the Federal Bureau of Investigation, the

Auglaize County Sheriff's Office, and the Lucas County Coroner’s office.

       4.      Because this affidavit is being submitted for the limited purpose of supporting

criminal complaints, I have not included each and every fact known concerning this

investigation. I have set forth only the facts necessary to establish probable cause that

HOVANEC and THEODOROU have committed violations of 21 U.S.C. §§ 841(a)(1), (b)(1)(C)-

Distribution of a controlled substance that resulted in death; 846 – Conspiracy to distribute a

controlled substance that resulted in death; 952- Importation of a controlled substance that


                                                  1
      Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 2 of 14. PageID #: 3




resulted in death; and GREEN and THEODOROU have committed a violation of 18 U.S.C. § 3

– Accessory after the fact.

       5.      On April 27, 2022, Federal Bureau of Investigation Special Agent (SA) Andrew J.

Eilerman was contacted by Wapakoneta Police Officer Cory Zwiebel about belongings left

unattended in a room at the Best Western Hotel located at 1008 Lunar Drive, Wapakoneta, Ohio.

The guest will be referred to in the affidavit by his initials T.H. and was unable to be located.

According to Officer Zwiebel, T.H. was employed by the United States Department of State as a

Security Engineering Officer, and there was concern that some of the electronic equipment

located at the hotel room may contain sensitive U.S. government equipment.

       6.      On April 27, 2022, SA Eilerman and Task Force Officers of the Northwest Ohio

Safe Streets Task Force responded to the Wapakoneta Police Department. Officer Zwiebel had

the contents from T.H.'s hotel room which were collected by the staff at the Best Western Hotel.

The FBI assumed custody of the potential U.S. Government property items, which included a

cellular telephone, a laptop computer, and a wireless charging device.

       7.      Task Force Officers traveled to the Best Western Hotel to begin reviewing

security footage and SA Eilerman contacted Auglaize County Sheriff's Office Detective Timothy

Rammel to initiate a joint investigation into the whereabouts of T.H.

       8.      During the early stages of the investigation several people were interviewed. One

of the first interviews was T.H.’s mother. According to the mother, T.H. and AMANDA

HOVANEC (hereafter referred to as AMANDA) were married in July 2012, and they had three

children together.

       9.      In 2016, T.H. and AMANDA moved to Germany for T.H.’s job and remained

there for approximately two years. Following this tour, T.H. was transferred to South Africa. At



                                                  2
      Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 3 of 14. PageID #: 4




some point in 2020, AMANDA initiated divorce proceedings against T.H. According to the

mother, during their time in South Africa, AMANDA developed a relationship with a South

African citizen named ANTHONY THEODOROU (hereafter referred to as THEODOROU).

       10.     According to the mother, T.H. recently returned to Wapakoneta, Ohio in order to

attend a child custody hearing with AMANDA scheduled for April 22, 2022.

       11.     T.H.’s travel records coincide with the information from his mother. Investigators

believe that T.H. traveled via his personal vehicle, a 2021 Volkswagen Tiguan, bearing Virginia

license plate UBN5147, to Ohio at some point prior to April 19, 2022. Records indicate that T.H.

then boarded an aircraft in Dayton, Ohio destined for Washington, D.C. on April 19, 2022. On

April 21, 2022, T.H. boarded an aircraft from Washington, D.C. to the Dayton (OH) International

Airport. It is believed that T.H. traveled from the Dayton Airport to Wapakoneta via his personal

vehicle.

       12.     On April 22, 2022, at 3:28 p.m., T.H. made a reservation at the Best Western

Hotel in Wapakoneta and arrived there at 8:07 p.m.

       13.     Your Affiant interviewed T.H.’s family law attorney, Shannon Hiller. Hiller

informed SA Eilerman that T.H.’s soon to be ex-wife, AMANDA, has denied T.H. court-ordered

visitation with his children since November of 2021.

       14.     Prior to the hearing pertaining to custody issues scheduled to occur on April 22,

2022, in the Auglaize County Domestic Relations Court, the judge ruled there was insufficient

time to review all of the evidence prior to that scheduled hearing. However, the judge ordered

that T.H. be given visitation with their children beginning at 7:00 p.m. on April 22, 2022 until

7:00 p.m. on April 24, 2022. He further ordered that T.H. was to be the residential parent of




                                                 3
      Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 4 of 14. PageID #: 5




custody and legal custodian of the three children for the summer beginning on May 28, 2022

until August 5, 2022.

       15.     T.H. was seen several times on surveillance camera at the Best Western Hotel on

April 24, 2022. At approximately 2:10 p.m., he was observed on camera at the hotel swimming

pool with his children. At approximately 3:45 p.m., T.H. and his children departed the

swimming pool and went back up to their room. T.H. was last seen on the video surveillance

system at 4:27 p.m. where he was seen departing the hotel with his three children.

       16.     At approximately 12:00 p.m. on April 25, 2022, Best Western Hotel staff checked

T.H's hotel room as he was scheduled to check out on that day. When they opened the door to

his room, they observed his personal belongings still there. The staff assumed that T.H. was

extending his stay and subsequently charged his credit card for another night. On April 26, 2022,

at 1:48 p.m., the staff at the Best Western Hotel again checked T.H’s room and noted that nothing

had changed since the previous day. They cleaned out the contents of his hotel room and

contacted the Wapakoneta Police Department.

       17.     After being contacted by the staff at the Best Western Hotel, the Wapakoneta

Police Department requested an Auglaize County Sheriff’s Deputy to attempt to contact

AMANDA. According to Deputy Foxhoven, he spoke to AMANDA on April 26, 2022 at her

residence on Middle Pike Road, Wapakoneta, Ohio. According to Deputy Foxhoven, AMANDA

said that T.H. picked up the three children around 7:00 p.m. on April 22, 2022 at her residence

and T.H. dropped the children off at 7:00 p.m. on April 24, 2022. She reiterated this fact in a

follow-up interview on April 27, 2022, stating that T.H. was there on April 24, 2022 but only

long enough to drop off the children.




                                                4
      Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 5 of 14. PageID #: 6




       18.     Investigators were able to obtain T.H.’s credit card records for the credit card that

he had used for his hotel stay. According to the records, it appeared to be the credit card used

during his trip to Ohio. The records provided by JP Morgan Chase Visa showed transactions

from April 13, 2022, to the last transaction made on April 25, 2022. However, the only two

transactions after he was last seen were to his family law attorney which was submitted prior to

his disappearance, and the second one being the Best Western Hotel for the one extended night.

       19.     Investigators submitted exigent requests to T.H.’s cellular phone carrier, Verizon

Wireless, for location information. Per the records, AMANDA called T.H. at approximately

11:01 a.m. on April 24, 2022. The call duration was 312 seconds. There are no further records

associated with his cell phone after 10:57 p.m. on April 26, 2022, indicating that either his cell

phone ran out of battery or was intentionally turned off.

       20.     Investigators conducted a preliminary review of T.H.’s cellular phone’s location

information. T.H.’s cellular phone connected to a cell tower located at ----- State Route 65,

Wapakoneta, Ohio from 7:01 p.m. to 7:56 p.m. on April 24, 2022. This tower is located in the

far northeast corner of ----- State Route 65. According to the records, the phone was

approximately .1 miles from the tower during that time. The cell phone tower located at -----

State Route 65 abuts the west edge of the property located at AMANDA’s residence on Middle

Pike Road, Wapakoneta, Ohio.

       21.     At approximately 7:56 PM, the phone can be observed moving south on State

Route 65. The phone continues to move south, through Sidney, then Troy, where it continues

through Tipp City on County Road 201 until it arrives in Dayton. The last observed location was

near Highland Park, Dayton, Ohio. During their preliminary review, investigators believe the

route taken by the phone avoided Interstate 75.



                                                  5
      Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 6 of 14. PageID #: 7




         22.   SA Andrew J. Eilerman contacted Dayton-based FBI Special Agent Robert

Buzzard and relayed the information derived from the analyzed cellular data. Special Agent

Buzzard, and a Task Force Officer from the Southwest Ohio Safe Streets Task Force, responded

to the location and located a black Volkswagen Tiguan, with no fixed license plates. The Vehicle

Identification Number (VIN) matched the known VIN from the T.H.’s 2021 Volkswagen Tiguan.

The Ohio Bureau of Criminal Investigation and Identification (BCI) Crime Scene Unit was

contacted and processed the vehicle for evidence to include latent fingerprints and DNA.

Following the search, the vehicle was towed to the Auglaize County Sheriff's Office where it is

currently being held.

         23.   During the course of the search of the vehicle, the BCI Crime Scene Unit located

a dash camera in the front windshield of the vehicle. The item was checked in as an item of

evidence and immediately transported back to the Auglaize County Sheriff's Office where a

separate BCI Special Agent imaged and reviewed the video contained on the storage medium of

the camera.

         24.   The storage device appeared to include video beginning on or about March 25,

2022 until April 24, 2022. The video’s orientation was forward looking out the front windshield,

and therefore did not capture the inside of the vehicle but did capture audio within its vicinity.

This dash camera captured T.H. dropping off his children at AMANDA’s residence on April 24,

2022, and his ultimate murder.

         25.   Upon arriving at AMANDA’s residence, AMANDA and ANITA GREEN

(hereafter referred to as GREEN) are waiting at the door located next to the garage. GREEN

appears to be video recording T.H.’s arrival with her cell phone. A still frame from the video is

below:



                                                  6
      Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 7 of 14. PageID #: 8




AMANDA walked toward the driver's side of the vehicle and began to interact with the three

children. Simultaneously, GREEN waited by the door, located next to the garage of the

residence, waiting to take the children into the house. AMANDA can be heard telling the

children, “I have a surprise for you inside,” and the children enter the residence followed by

GREEN.

       26.     Seconds later, T.H. said, “What the heck are you doing? Did you just assault me?”

T.H. followed that by saying, “Get away from me. . . Get off of me.” T.H. and AMANDA enter

the screen of the video from the passenger side of the vehicle. AMANDA is pulling on his hand

and shirt as T.H. tries to use his cell phone. AMANDA then aggressively wrestles for his phone

eventually knocking it out of his hand onto the ground. AMANDA then pulls on T.H.’s back

and neck and gets him to the ground. She held him around the neck (not choking him) until his

                                                 7
      Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 8 of 14. PageID #: 9




body went limp. AMANDA immediately picked up his cell phone and took off what appears to

be an Apple watch and turns off the car stopping the video as T.H. laid unconscious and

unresponsive on the driveway.

       27.     AMANDA was interviewed at the Auglaize County Sheriff's Office in the evening

hours of April 27, 2022 by Auglaize County Sheriff's Office Detective Brian Little and FBI

Special Agent Caleb Williams. AMANDA was advised that the interview was voluntary, she was

not under arrest, and could leave at any time. AMANDA was asked about T.H., and the events of

April 24, 2022. After initially giving untruthful answers, investigators advised AMANDA of her

Miranda Rights. AMANDA said she understood her rights and agreed to continue speaking with

investigators. Investigators confronted AMANDA with the murder of T.H. to which AMANDA

confessed to the killing.

       28.     AMANDA admitted she injected T.H. in the shoulder while they were standing

next to his vehicle after he dropped off the children. AMANDA was not able to name what she

injected T.H. with but referred to it as “poison” or “drug.” AMANDA understood that the drug

would kill T.H. within minutes. AMANDA said she received the drug in the mail approximately

one month before she killed T.H. and that ANTHONY THEODOROU shipped the drug from

South Africa to AMANDA at her residence on Middle Pike Road, Wapakoneta, Ohio.

       29.     At some point after she injected T.H. with the drug, AMANDA admitted she

drove T.H.’s vehicle to Dayton using side and county roads. AMANDA recalled that T.H. had

skydiving friends in Dayton and this contributed to her decision to bring his vehicle there.

AMANDA left the vehicle near Highland Park in Dayton, Ohio. AMANDA admitted she

removed the license plate from T.H.’s vehicle and disposed of it in a nearby trash can or




                                                 8
     Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 9 of 14. PageID #: 10




dumpster. AMANDA also disposed of T.H.’s cellular phone and watch, along with the syringe

and vial containing the drug.

       30.     AMANDA stated that THEODOROU followed AMANDA to Dayton, driving

AMANDA's Honda Pilot. THEODOROU drove AMANDA back to her residence on Middle

Pike Road after they discarded T.H's vehicle. AMANDA believed that they arrived between

11:00 p.m. and midnight. AMANDA left T.H.’s body in the garage of the residence on Middle

Pike Road while she and THEODOROU drove to Dayton. AMANDA put a plastic bag over

T.H.’s head and body because she was concerned about fluids secreting from T.H.'s body.

       31.     Prior to killing T.H., AMANDA told her mother, GREEN, that she was going to

kill him. After AMANDA killed T.H., she also informed her mother that it had been done.

AMANDA and THEODOROU loaded T.H.’s body into the back of AMANDA's Honda Pilot.

Shortly thereafter, GREEN drove AMANDA and THEODOROU to where they buried the body.

AMANDA and THEODOROU buried T.H. in a wooded area located at the northwest corner of

Blank Pike and Wrestle Creek Road in Auglaize County, in the Northern District of Ohio.

AMANDA and THEODOROU used shovels from GREEN's home to bury the body. AMANDA

said that GREEN dropped them off and later returned to pick her and THEODOROU up at a

predetermined time. AMANDA picked the burial site because it was near farmland her

grandfather used to own.

       32.     Your Affiant and Auglaize County Sheriff's Office Detective Timothy Rammel

interviewed THEODOROU, who was advised of his Miranda Rights and agreed to speak to

investigators. After initially being untruthful, THEODOROU admitted to his involvement in the

murder of T.M. According to THEODOROU, AMANDA had been talking about killing T.H. for




                                              9
        Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 10 of 14. PageID #: 11




around a year. Due to the custody issues between T.H. and AMANDA, she felt that this was the

only way to prevent the children from spending the summer with T.H.

           33.      THEODOROU said that he obtained the substance used to kill T.H. He referred

to the substance as M99 1. According to THEODOROU, he had an acquaintance who acquired

the substance from a veterinarian in South Africa. THEODOROU was reluctant to provide the

name of the person who obtained the drug. When THEODOROU was given the drug from his

associate, he mailed it to AMANDA at her address on Middle Pike Road, Wapakoneta, Ohio.

When asked what THEODOROU believed M99 to be, he said that it was an animal tranquilizer.

           34.      A United States Customs and Border Protection (CBP) Officer was able to locate

CBP records indicating a DHL package mailed from Pretoria, South Africa on February 22,

2022. According to CBP Officer Michael Daniels, the package was addressed to AMANDA

LEIGH HOVANEC, at a residence on Middle Pike, Wapakoneta, Ohio. A telephone number of

(419) 921- ---- was listed as the co-signee contact. The shipper was listed as ANTHONY

THEODOROU, --- Emus Erasmus Avenue in Pretoria, South Africa. According to the DHL

tracking, it appears the package was delivered by DHL to AMANDA’s residence on Middle Pike

Road on March 1, 2022.

           35.      THEODOROU said that he was not involved in the actual killing of T.H. He said

that he did not want to see the body and subsequently AMANDA, alone, moved T.H.'s body into

the garage. THEODOROU believed that AMANDA brought T.H.'s body into the garage and

prepared him to be buried. He did not know what she did to his body but when he saw the body

later, he noted that there was a plastic bag wrapped over his head.




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    M99 is a named used for Etorphine HCI, a Schedule II controlled substance.

                                                         10
    Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 11 of 14. PageID #: 12




       36.     Shortly thereafter, THEODOROU admitted he and AMANDA departed for

Dayton. AMANDA drove T.H.'s Volkswagen and THEODOROU drove AMANDA's Honda

Pilot. THEODOROU believed that AMANDA had a “burner” phone during their trip to Dayton,

however he did not speak to her on the phone during this trip.

       37.     THEODOROU recalled driving to the rough parts of Dayton in an attempt to

locate a place to discard T.H.'s vehicle. When they located a place to abandon the vehicle,

AMANDA wiped the vehicle down to eliminate potential evidence. THEODOROU believed

that they placed T.H.'s belongings into the Honda Pilot and discarded the items at different

locations on the return trip home.

       38.     When they returned to the residence located on Middle Pike Road,

THEODOROU admitted he and AMANDA placed T.H.'s body into the rear of the Honda Pilot.

THEODOROU recalled using some sort of bag with handles to move T.H.'s body. AMANDA

went into the house and got GREEN, who drove them, and they departed to a pre-determined

location where they were going to take T.H.'s body. THEODOROU and AMANDA took three

shovels with them during the trip. GREEN drove them to the location and the three of them

agreed that GREEN would return and pick them up two hours later. THEODOROU and

AMANDA buried the body and GREEN returned to pick them up.

       39.     THEOUDORO was asked if he was willing to show investigators the location of

where they buried T.H.'s body. He agreed, and your Affiant and other law enforcement officers

transported THEODOROU to a rural site located in a wooded area just to the northwest of the

intersection of Blank Pike Road and Wrestle Creek Road located in Auglaize County. At

approximately 10:40 p.m. on April 27, 2022, THEODOROU identified the spot where T.H.'s

body was buried. This area was cordoned off and the scene was secured by the Auglaize County



                                                11
    Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 12 of 14. PageID #: 13




Sheriff's Office. It was determined that the body would be recovered during daylight hours on

the following day, April 28, 2022.

        40.    GREEN was initially interviewed at her residence located on Middle Pike Road

by FBI Special Agents. GREEN claimed to have little or no knowledge of the events that

transpired on the night in question. Eventually, information gleaned from the other interviews

about GREEN's potential involvement was relayed to the interviewing agents, and around this

time, her Miranda rights were provided to her.

        41.    Following the initial interview, GREEN requested to speak with investigators

again. Your Affiant and Auglaize County Sheriff's Deputy and FBI Task Force Officer Todd

Keller conducted the interview. GREEN was reminded of her Miranda Rights prior to any

questioning. GREEN acknowledged that she was aware that AMANDA was planning to do

something to T.H., however, she did not believe that anything would actually occur. She

acknowledged that her role was to get the children into the house away from the driveway, but

also added that this was common practice for her upon the children's return. Just prior to T.H.

arriving to return the children, GREEN noticed a towel laying on a table in the room located near

the door leading to the driveway. As GREEN approached the item, AMANDA told her to not

touch the item as that was the poison.

        42.    GREEN initially claimed that she had no knowledge that T.H. was dead. When

asked why she didn't contact law enforcement at any point she said that she was concerned that

AMANDA would be taken from her. Later in the interview, GREEN added that during the drive

to take AMANDA and THEODOROU to bury T.H.'s body she realized that she was now

involved. GREEN stated, “I knew at the time we were driving and we stopped . . . I'm in this

now.”



                                                 12
     Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 13 of 14. PageID #: 14




       43.     On April 28, 2022, the Ohio BCI Crime Scene Unit conducted a recovery dig of

T.H.'s body. His body was exhumed, and Your Affiant was able to positively identify T.H. via

the FBI's Mobile Biometric Application (MBA). Following the recovery and positive

identification, T.H.'s body was transported to the Lucas County Coroner for an autopsy.

       44.     The autopsy was conducted on April 29, 2022. Your Affiant spoke with the

medical examiner who, at the time was just beginning the autopsy. Dr. Jeffrey Hudson indicated

that he located an injection site on the upper left shoulder of T.H.'s body. At the conclusion of

the autopsy, Dr. Hudson informed Detective Brian Little that there were no other identifiable

reasons that would have caused T.H.’s death. A blood sample was shipped to NMS Lab for a

final toxicology report.




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                                                 13
    Case: 3:22-mj-05143-DAC Doc #: 1-1 Filed: 05/02/22 14 of 14. PageID #: 15




       45.     Based on the information contained in this affidavit, I believe probable cause

exists that in the Northern District of Ohio, Western Division, and elsewhere, AMANDA

HOVANEC and ANTHONY THEODOROU conspired and agreed together to import a Schedule

II controlled substance, to distribute the controlled substance, and the distribution by AMANDA

resulted in T.H.’s death, and thus they committed violations of 21 U.S.C. §§ 841(a)(1), (b)(1)(C)-

Distribution of a controlled substance that resulted in death; 846 – Conspiracy to distribute a

controlled substance that resulted in death; 952- Importation of controlled substance that resulted

in death. Furthermore, I believe probable cause exists that ANTHONY THEODOROU and

ANITA GREEN knew the crime of drug distribution that resulted in death occurred and

thereafter intentionally received, relieved, comforted, and assisted AMANDA in order to hinder

and prevent AMANDA’s apprehension, trial, and punishment for that crime, and thus committed

a violation of 18 U.S.C. § 3 – Accessory After the Fact.



                                                             Respectfully submitted,



                                                             __________________________
                                                             Andrew J. Eilerman
                                                             Special Agent, FBI

Sworn to and subscribed telephonically
after being submitted by reliable electronic means
this 2nd day of May 2022.



_______________________________
Darrell A. Clay
U.S. Magistrate Judge




                                                14
